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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                           PAUL SOMERS,
                                   7                                                         Case No. 14-cv-05180-EMC (KAW)
                                                        Plaintiff,
                                   8
                                                 v.                                          ORDER REGARDING DISCOVERY
                                   9                                                         LETTER BRIEF
                                           DIGITAL REALTY TRUST INC, et al.,
                                  10                                                         Re: Dkt. No. 108
                                                        Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13            Before the Court is the parties' joint discovery letter brief, Dkt. No. 108. The Court held a

                                  14   telephonic discovery hearing on the matter on July 7, 2016. Following that telephonic discovery

                                  15   hearing, the Court hereby orders the following:

                                  16            With respect to1 "Requests for Production, Set One, Request Nos. 7," Interrogatories, Set

                                  17   Two, Interrogatory No. 1, "Request Nos. 13," Request No. 14, Request for Production Set One,

                                  18   No. 8, Interrogatory No. 9, Interrogatory No. 10, Interrogatory No. 14, Interrogatory No. 6, Set

                                  19   Two, and Defendants' Request for Production, Set Three, Plaintiff shall provide responses within

                                  20   14 days of this order.

                                  21            With respect to Request for Production Set 1, Nos. 5, 6, & 28, Defendants shall produce

                                  22   responsive documents subject to the parties meeting and conferring on specifying a limited search

                                  23   period. If Plaintiff believes specific documents exist that have not been produced, he shall also

                                  24   provide Defendants with details that will facilitate a search for any such documents. To the extent

                                  25   Plaintiff seeks requests for admission, he may propound such requests consistent with the Federal

                                  26   Rules of Civil Procedure.

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                                  28    To avoid confusion, the Court will refer to the propounded discovery using the designations the
                                       parties employed in their joint letter.
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                                   1             With respect to Request for Production Set 1, No. 4, Defendants shall produce any

                                   2   responsive documents subject to the stipulated protective order entered in this case. Any personal

                                   3   information may be redacted.

                                   4             With respect to "(RFP 2) No. 88," Defendants shall attempt to verify whether the

                                   5   communications referenced by Plaintiff took place, and whether relevant records exist. Any

                                   6   relevant records shall be produced within 14 days.

                                   7             With respect to Request for Production Set Two, No. 80, the parties shall meet and confer

                                   8   regarding any contested privilege assertions. Any unresolved issues may be presented to the Court

                                   9   in a joint discovery letter brief that conforms to the Court's General Standing Order. Insofar as

                                  10   Plaintiff seeks information that is outside the scope of the request, he shall propound appropriate

                                  11   additional discovery.

                                  12             With respect to Request for Production Set Two, "No. 82, 83," the Court finds that
Northern District of California
 United States District Court




                                  13   Plaintiff's requests do not exceed the scope of Rules 26 and 34. Defendants shall produce

                                  14   responsive documents within 14 days subject to the protective order entered in this case. Personal

                                  15   information may be redacted.

                                  16             With respect to Request for Production, Set Two, No. 85, Defendants shall produce

                                  17   responsive documents within 14 days of the parties meeting and conferring about a limited search

                                  18   period.

                                  19             With respect to Request for Production, Set Two, No. 86, Plaintiff shall provide additional

                                  20   information regarding the specific documents he thinks are responsive to the request, and based on

                                  21   that information, Defendants shall search for such documents and supplement its responses

                                  22   accordingly within 14 days of receiving the information from Plaintiff.

                                  23             With respect to Request for Production Set Two, Nos. 96, 97, and 98, the Court finds that

                                  24   the information sought is not relevant and declines to order production of that information.

                                  25             With respect to Request for Production Set Two, Nos. 100, 101, 102, 110, and 111, the

                                  26   parties shall meet and confer regarding a date range and additional search terms that will narrow

                                  27   Defendants' search for responsive documents.

                                  28             Plaintiff shall make himself available for deposition within the next 30 days, and the
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                                   1   parties shall meet and confer to select a mutually agreeable date.

                                   2            Plaintiff shall not contact Defendants directly. All communications shall be directed to

                                   3   their counsel.

                                   4            Plaintiff is reminded that Defendants may seek legal advice from a law office, and any

                                   5   such communications are protected from disclosure by the attorney-client privilege.

                                   6            Where the parties have been ordered to meet and confer, they must do so within 7 days.

                                   7   Any additional responses are due 14 days thereafter.

                                   8            IT IS SO ORDERED.

                                   9   Dated:   07/08/16

                                                                                              __________________________________
                                  10                                                          KANDIS A. WESTMORE
                                  11                                                          United States Magistrate Judge

                                  12
Northern District of California
 United States District Court




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